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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CHRYSTINA AMELOTTI                            :
531 Swarthmore Ave.                           :
Folsom PA 19033                               :
                                              :       CIVIL ACTION
                Plaintiff,                    :
       v.                                     :       No.:
                                              :
DREXEL UNIVERSITY                             :
o/a Department of Public Safety               :       JURY TRIAL DEMANDED
3201 Arch Street, Suite 430                   :
Philadelphia, PA 19104                        :
       and                                    :
CHIEF EILEEN BEHR                             :
c/o Drexel University                         :
Department of Public Safety                   :
3201 Arch Street, Suite 430                   :
Philadelphia, PA 19104                        :
       and                                    :
CAPTAIN PATRICK HANEY                         :
c/o Drexel University                         :
Department of Public Safety                   :
3201 Arch Street, Suite 430                   :
Philadelphia, PA 19104                        :
                                              :
                Defendants.                   :
                                              :

                                 CIVIL ACTION COMPLAINT

       Plaintiff, Chrystina Amelotti (hereinafter referred to as “Plaintiff”), by and through her

undersigned counsel, hereby avers as follows:

                                         I.   Introduction

       1.       Plaintiff has initiated this action to redress violations by Drexel University, Chief

Eileen Behr, and Captain Patrick Haney (hereinafter collectively referred to as “Defendants”) of

Title VII of the Civil Rights Act of 1964 (“Title VII” – 42 U.S.C. §§ 200d et seq.)/the Pregnancy

Discrimination Act (“PDA”), the Americans with Disabilities Act (“ADA” – 42 U.S.C. §§ 12101
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et. seq.), the Family and Medical Leave Act (“FMLA” - 29 U.S.C. §§ 2601 et. seq.), the

Philadelphia Fair Practices Ordinance (“PFPO”), and the Pennsylvania Human Relations Act

(“PHRA”).1 Plaintiff was subjected to discrimination and retaliation and she has suffered

damages more fully described/sought herein.

                                         II.   Jurisdiction and Venue

         2.       This Court may properly maintain jurisdiction over Defendants because

Defendants’ contacts with this state and this judicial district are sufficient for the exercise of

jurisdiction over Defendants to comply with traditional notions of fair play and substantial

justice, satisfying the standard set forth by the United States Supreme Court in International Shoe

Co v. State of Washington, 326 U.S. 310 (1945) and its progeny.

         3.       This action is initiated pursuant to a federal law. The United States District Court

for the Eastern District of Pennsylvania has original subject matter jurisdiction over this action

pursuant to 28 U.S.C. § 1331 because the claims arise under the laws of the United States.

         4.       There lies supplemental jurisdiction over Plaintiff’s state/local law claims because

they arise out of the same common nucleus of operative facts as Plaintiff's federal claims

asserted herein.

         5.       Venue is properly laid in this District pursuant to 28 U.S.C. §§ 1391(b)(1) and

(b)(2), because Defendants reside in and/or conduct business in this judicial district and because

a substantial part of the acts and/or omissions giving rise to the claims set forth herein occurred

in this judicial district.



1
  Plaintiff’s claims under the PHRA are referenced herein for notice purposes. She is required to wait 1 full year
from the date of dual-filing with the EEOC before she can plead her claims arising under the PHRA, unless the
PHRA issues a case closure notice prior to one year (which it has not as of the filing of this lawsuit). Plaintiff must
however file her lawsuit in advance of same because of the date of issuance of her federal right-to-sue letter under
the Title VII/PDA and ADA. Plaintiff’s PHRA claims however will mirror her federal claims under Title VII/PDA
and the ADA.


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                                           III.    Parties

        6.       The foregoing paragraphs are incorporated herein their entirety as if set forth in

full.

        7.       Plaintiff is an adult who resides at the above-captioned address.

        8.       Defendant Drexel University (hereinafter “Defendant University”) is a private

research university with its main campus in Philadelphia, Pennsylvania.

        9.       Defendant Chief Eileen Behr (hereinafter “Defendant Behr”) was the former

Chief of Police and Vice President of Defendant Drexel’s Public Safety Department during all

relevant times herein.

        10.      Defendant Captain Patrick Haney (hereinafter “Defendant Haney”) was (during

all relevant times herein) and still is the Captain of the Police Department (a branch of Defendant

Drexel’s Public Safety Department).

        11.      At all times relevant herein, Defendants acted through their agents, servants and

employees, each of whom acted at all times relevant herein in the course and scope of their

employment with and for Defendants.

                                    IV.     Factual Background

        12.      The foregoing paragraphs are incorporated herein their entirety as if set forth in

full.

        13.      Plaintiff was hired by Defendant University in or about January of 2013.

        14.      Plaintiff was initially hired by Defendant University as a University Police

Officer.

        15.      Throughout her employment with Defendant University, Plaintiff was a stellar

employee, who worked her way up the ranks after her hire in January of 2013.




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       16.     For example, based on her strong work ethic and performance, Plaintiff was

promoted to Sergeant in or about the Summer of 2019 and remained in that role until returning

from medical leave in or about May of 2022 (discussed further infra).

       17.     In or about February of 2019, Plaintiff was pregnant with her first child and was

required to commence a medical leave of absence due to complications connected with her

pregnancy.

       18.     Specifically, Plaintiff was diagnosed with Hyperemesis Gravidarum – a disorder

that only affects approximately 2% of pregnant women in the United States. The side effects of

this disorder are extreme nausea and vomiting – which can lead to other complications and

medical concerns.

       19.     Plaintiff was prescribed medication for her aforesaid diagnosis, which

unfortunately did not absolve her symptoms and she ultimately made almost a dozen visits to the

Emergency Room (“ER”) during her first pregnancy (in connection with her pregnancy and

related medical conditions).

       20.     As a result of the foregoing diagnosis and side effects, Plaintiff developed the

following additional medical conditions during her first pregnancy:

                       i. Ketone in her urine, which is a condition that can cause a person’s
                          blood to become acidic;
                      ii. Kidney stones;
                     iii. Anemia and low hemoglobin (which required her to have 8 iron
                          infusions during her pregnancy); and
                     iv. Constant nose bleeds.

       21.     Plaintiff’s aforesaid condition became so severe during her first pregnancy that

her doctor scheduled a home nurse to give her an IV with fluids and vitamins in order to keep her

hydrated and decrease her symptoms (in hopes of preventing her from going to the ER).




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However, even with this treatment plan, Plaintiff was still required to go to the ER on several

occasions for dehydration.

        22.    As a result of the foregoing, Plaintiff remained on disability leave (Short Term

Disability and then Long Term Disability) until in or about August of 2019 when she returned to

work.

        23.    While on Short Term and Long Term Disability for her first pregnancy, Plaintiff’s

leave was monitored and approved by a former employee of Defendant University’s Human

Resources (“HR”) Department. Upon her return to work, Plaintiff was reinstated with full

seniority and without any issues.

        24.    On or about July 25, 2021, Plaintiff was pregnant with her second child and was

required to take another medical leave of absence because she was again diagnosed with

Hyperemesis Gravidarum.

        25.    As a result of her diagnosis, Plaintiff’s physician required a home nurse to visit

her three (3) times a week to give her fluids, vitamins and Promethazine through an IV line.

        26.    Even with the aforesaid medical treatment plan, Plaintiff continued to suffer from

dehydration and weight loss to the point that her doctor prescribed additional treatment in the

form of a subdue Zofran pump.

        27.    Despite the aforesaid medical treatments, Plaintiff still had approximately eight

(8) ER visits during her second pregnancy and also experienced fainting spells, nose bleeds,

anemia, low hemoglobin, constant UTI infections, and vitamin deficiencies.

        28.    While out of work during her second pregnancy, Plaintiff contacted Jacob

Bononcini (hereinafter “Bononcini”), Sr. Consultant, Leave & Disability Resources.




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       29.     Plaintiff had never spoken with Bononcini previously but from the very outset of

their discussions, Bononcini exhibited discriminatory animus toward Plaintiff, her pregnancy,

and her need for medical leave.

       30.     For example, when Plaintiff attempted to ask questions about applying for Long

Term Disability after her Short Term Disability concluded, Bononcini alluded to the fact that

Plaintiff would not be approved for Long Term Disability, even though: (1) she had been

approved previously with her first pregnancy; (2) he had no in-depth knowledge of what her

medical conditions were; and (3) he would not ultimately make the decision regarding her

eligibility for Long Term Disability (as this decision would solely be made by Lincoln Financial

Group).

       31.     Bononcini even stated in a very hostile manner to Plaintiff at this time that he

“couldn’t imagine they would approve long term for a pregnancy.”

       32.     Plaintiff was so offended by Bononcini’s discriminatory and retaliatory behavior

towards her that on November 3, 2021, she requested that her matter be reassigned to a different

individual in HR because of how uncomfortable her interactions with Bononcini made her feel.

In her email requesting the same, Plaintiff stated:

                       It is quite disappointing your negativity towards workers
                       who go out on disability. Moving forward if there is
                       another Human Resource employee that could be assigned
                       to me instead of you I would prefer that. I don’t feel
                       comfortable with you receiving my personal information
                       given your negativity towards my disability.

       33.     Plaintiff was eventually approved to take Long Term Disability until April 15,

2022 for her second pregnancy.




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         34.   Before Plaintiff’s Long Term Disability expired, she applied for a 4-week

personal leave (to expire on May 15, 2022), which was approved by Defendant University’s

management without issue or question.

         35.   On or about May 5, 2022, Plaintiff had a phone conference with Defendant Behr

and Defendant Haney regarding her return to work on May 16, 2022.

         36.   During her phone conference with Defendant Behr and Defendant Haney on May

5, 2022, Plaintiff was blindsided and informed for the first time that she would not be reinstated

to her prior seniority on May 16, 2022 when she returned to work from her aforesaid medical

leave and that her seniority would start fresh (as a new hire).

         37.   Defendant Behr memorialized the aforesaid May 5, 2022 phone conversation in a

memorandum sent to Plaintiff on May 5, 2022. This Memorandum confirmed that Plaintiff

would be reinstated to her title of University Sergeant but that her seniority would start “fresh”

upon returning to work.

         38.   Defendant Behr also stated in the May 5, 2022 Memorandum that Plaintiff’s

employment with Defendant University “ended” when she transition to Long Term Disability but

that Defendant University kept her position vacant (and therefore did not fill it) in case Plaintiff

decided to return after medical leave.

         39.   Defendant University’s employee dashboard also showed Plaintiff being

terminated from her employment on October 22, 2021 – the day her Short Term Disability

ended.

         40.   Despite Defendant University’s Long Term Disability policy stating that

Defendant University is not obligated to keep a staff member’s position open beyond 90 days of

disability leave, Plaintiff was never informed by anyone in HR or by Defendant University’s




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management (prior to May 5, 2022) that Defendant University was not in fact keeping her

position open or that her employment with Defendant University would end if she did not return

by a certain date (to the contrary Defendants indicated that her position remained vacant and

therefore was not filled).

        41.    Even in a “Transition Letter” that was sent to Plaintiff by Bononcini on October

24, 2021 (when her FMLA was set to expire), Defendant University failed to mention anything

about Plaintiff’s employment ending or being terminated (and thus losing her seniority) if she did

not return by a certain date.

        42.    The only communication that Plaintiff received about the status of her

employment as a University Sargent throughout the course of her medical leave and up until

May 5, 2022 was from Defendant Behr and Defendant Haney, who consistently reassured

Plaintiff that her position was safe and that they would reinstate her once she was able to return.

        43.    Plaintiff had several discussions with Defendant Behr and Defendant Haney

regarding her employment status, health conditions, and intent to return to work during her

aforesaid medical leave (related to her second pregnancy). However, at no point in time, prior to

May 5, 2022, did Defendant Behr or Defendant Haney state to Plaintiff that they were

considering her position open for others to apply, that they needed to fill her position if she

didn’t return by a certain date, that her employment had ended or was terminated in October of

2021, or that she would be reinstated as a new hire (without her seniority) upon returning to

work.

        44.    Plaintiff’s understanding regarding her position was memorialized in an email

sent to Bononcini on November 3, 2021 in response to his email attaching the aforesaid




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Transition Letter, wherein she states: “I had spoken to my boss who stated that the status of my

employment is fine. I still have my position.”

        45.      Prior to commencing medical leave in July of 2021, Plaintiff was ranked third

senior Sergeant.

        46.      As of May 16, 2022, when Plaintiff returned to work as a “new hire,” she lost

multiple benefits that she worked long and hard for, including but not limited to:

                           i. The amount of hours she accumulates in vacation time;
                          ii. Priority in days off;
                        iii.  Priority/selection in summer vacations;
                         iv.  Rank in promotions;
                          v.  Mandatory overtime/detail assignment;
                         vi.  Priority/selection in preferred shift;
                        vii.  Retirement benefits (for which Plaintiff would have become fully
                              vested in January of 2023);
                        viii. Pay increases; and
                         ix. Tuition assistance.2

        47.      There is absolutely no reason why Defendant University had to terminate

Plaintiff from her position in October of 2021 and strip her of her seniority. In fact, Defendant

University could have easily accommodated Plaintiff under the ADA and the PFPO3, as evidence

by the following:

                           i. According to Defendant Behr’s May 5, 2022 Memorandum,

                                Defendants did not fill Plaintiff’s position and it remained vacant until

                                she returned from medical leave, which clearly shows that it would


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  While Plaintiff was not enrolled in any courses at the time, she would have had to work another five years to get
this benefit reinstated.
3
  Under the PFPO, it is unlawful "for an employer to fail to provide reasonable accommodations to an employee for
needs related to pregnancy, childbirth, or a related medical condition, provided (i) the employee requests
such accommodation and (ii) such accommodations will not cause an undue hardship to the employer." Phila. Code
§ 9-1128(1). Courts typically apply the same framework used for ADA failure to accommodate claims to PFPO
claims. See Matero v. Chipotle Mexican Grill, Inc., No. 17-5529, 2018 U.S. Dist. LEXIS 160716, 2018 WL
4510494, at *1 (E.D. Pa. Sept. 20, 2018).



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                           have faced no undue hardship in holding her position and seniority

                           while on medical leave; and

                       ii. Defendant University was willing and had the ability to accommodate

                           Plaintiff under similar circumstances in 2019 (wherein she took

                           medical leave for several months but was reinstated to her position

                           with full seniority upon her release to return to work).

       48.     Prior to returning to work on May 16, 2022, Plaintiff retained legal counsel, who

sent Defendants a letter outlining their discriminatory, retaliatory, and illegal actions under the

PFPO, the ADA, Title VII, the PHRA, and the FMLA.

       49.     While Defendants never responded to the aforesaid letter sent by Plaintiff’s legal

counsel, they did subject Plaintiff to significant retaliation, so much so that it became a hostile

work environment and her job as a University Sargent completely changed. For example, but not

intending to be an exhaustive list:

                        i. For approximately one month following her return from medical leave,

                           Plaintiff was not given a set schedule – which was extremely

                           challenging for Plaintiff. In fact, Plaintiff would literally have to

                           approach management to see what her schedule was for the next week,

                           as no one would advise her of the same;

                       ii. Plaintiff was given very minimal assignments and often times sent

                           home because she was not provided with enough work to perform;

                      iii. Plaintiff was treated as a complete outcast. For example, unlike prior

                           to her medical leave and complaints of discrimination/retaliation, she




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                           was not (1) made to wear a uniform; (2) directly reporting to anyone;

                           and (3) assigned to supervise anyone;

                      iv. At one point, Plaintiff was approached by Captain Haney who stated

                           that he received an email indicating that she was leaving her

                           employment with Defendant University on July 29, 2022, even though

                           she never made any representation that she was leaving her

                           employment with Defendant University;

                       v. Despite being on day shift prior to medical leave and advising

                           Defendants upon her return from medical leave that she was unable to

                           perform night shift work because of childcare issues, Defendants

                           continued to request that she perform night work;

                      vi. Treating Plaintiff as an outcast and isolating her; and

                      vii. Treating and speaking to Plaintiff in a rude and condescending

                           manner.

       50.     In or about the end of May, 2022, Plaintiff applied for and was interviewed for an

open Detective Sergeant position.

       51.     On or about June 8, 2022, Plaintiff met with Defendant Behr. During her meeting

with Defendant Behr, Plaintiff was informed that she was not selected for the aforesaid Detective

Sergeant position. She was further informed that the person who was selected was a Sergeant on

night shift and that Plaintiff would be assigned to his position.

       52.     Plaintiff informed Defendant Behr during their June 8, 2022 meeting that she

already spoke to another Sergeant, who stated that he would take night shift work, so that she did

not have to.




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       53.     Defendant Behr responded by stating that she would speak with the aforesaid

Sergeant. However, upon information and belief, Defendant Behr never did anything of the sort

and instead sent Plaintiff an email less than a half hour after their conversation stating that she

was being permanently assigned to night shift.

       54.     This was a clear attempt to force Plaintiff to quit her employment, as:

                       i. Plaintiff already apprised Defendants that she was unable to work

                          night shift due to childcare issues/conflicts; and

                      ii. Defendant Behr also intentionally failed to follow typical practices or

                          policies when filling the aforesaid vacant night shift position. For

                          example:

                              1. It was common practice that when a Sergeant or any other

                                  employee of the Public Safety Department is moved

                                  permanently to a different shift, he or she is given a 30-day

                                  notice. Plaintiff was given four (4) days;

                              2. Furthermore, it was common practice that when a position

                                  becomes vacation for a certain class of employees (such as

                                  Sergeants or police officers), a memo is sent out to all

                                  employees within that class, giving them the opportunity to bid

                                  on the shift. No memo was ever sent out regarding the night

                                  shift position that Plaintiff was being mandated to work and no




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                                       other Sergeant was given the opportunity to bid on the

                                       position.4

        55.      Because Plaintiff could not perform in the position that she was being placed into

(night shift Sergeant) and because Defendants’ actions were clearly discriminatory and

retaliatory, Plaintiff sent an email to Defendant University’s HR department, specifically Xavier

Johnson (hereinafter “Johnson”), Director of Labor Relations and Equal Employment

Opportunity, on June 9, 2023 complaining of discrimination and retaliation against Defendant

Behr. Specifically, Plaintiff wrote in part:

                          I was informed by Chief Behr that I am being mandated to
                          work night shift to file [sic] the spot of the Sergeant who
                          was promoted. However, I have already told her and other
                          management that I cannot work over night shift due to child
                          care issues. And that I feel being placed on this shift is a
                          form of punishment for me being out on medical issues
                          related to my pregnancy because prior to my medical leave
                          I was assigned to day work 6:30a-4:30p.

                                                             …

                          It is clear that I am not being treated unfairly [sic] and that
                          Chief Behr is trying to push me out and force me to resign.
                          I have been subjected to nothing but negative treatment
                          after returning from medical leave and retaining a lawyer
                          for my discrimination and retaliation claims. This is clear
                          retaliation, and it needs to stop.

                          Please look into this matter as quickly as possible. . . I
                          don’t want to leave my job here at Drexel but it seems
                          management wants me to and is doing everything possible
                          to force me to quit.

        56.      On or about June 16, 2020, Plaintiff spoke with Johnson who provided very little

assistance, treated her in condescending manner, talked over her, and refused to answer her

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 Notably, on or about June 8, 2022, Chief Behr she sent out a similar memo to patrol officers stating that they had
two weeks to inform her if they wanted to move into any of the open patrol officer positions. Therefore, Defendants
cannot argue that this common practice did not exist.



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questions. Johnson also failed to address any of the concerns expressed by Plaintiff in her June 9,

2022 email.

        57.    Following their conversation, Johnson followed up with Plaintiff via email

accusing her of being aggressive, over-talking him, and exhibiting an unprofessional tone

(among other false accusations). This was an obvious attempt by Defendant University to

document Plaintiff in a negative light – presumably to create some type of paper trail. Johnson’s

aforesaid narrative of their conversation was false and simply another form of retaliation.

        58.    Plaintiff’s first day scheduled to work night shift was June 22, 2022.

        59.    Despite Plaintiff’s expressed concerns of retaliation and discrimination and

objections raised regarding her ability to work night shift, her reassignment to night shift was not

changed, and Plaintiff was expected to report to night shift on a permanent basis starting June 22,

2022.

        60.    Therefore, Plaintiff was left with no other choice but to resign from her

employment with Defendant University, because she was unable to work night shift on a

permanent basis for the reasons discussed supra and/ot because of the hostile work environment

she was being subjected to.

        61.    Thus, Plaintiff was constructively discharged from her employment on June 21,

2022.

        62.    Plaintiff submitted her (forced) resignation letter stating as follows:

                       Chief Behr,

                       Please accept this letter as my formal resignation from
                       Drexel University. Since returning from medical leave, I
                       have been subjected to nothing but harassment from you,
                       Captain Haney, and more recently Xavier Johnson from
                       HR. I have been humiliated and made to feel
                       completely isolated by the actions of Drexel's management.



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                     More recently, Xavier Johnson eagerly took his opportunity
                     to document me under a false narrative of what happened
                     during our last communication, which indicated to me that
                     he is not as neutral in this matter as HR is supposed to be. I
                     cannot believe after the years of service I have given to
                     Drexel University, this is how I am being treated and
                     forced to end my career.

                     As you know, you have mandated me to permanently be on
                     night shift. I informed you multiple times before this
                     mandate and during our conversation on June 8th that I
                     cannot work night shift due to child care issues. I even
                     informed you that there was another Sergeant that was
                     willing to work night shift so that I didn't have to, but you
                     disregarded this completely and permanently assigned me
                     to night shift. Today is Tuesday and I am scheduled back to
                     work tomorrow (working night shift). Again, I cannot work
                     this shift and no one has informed me that my schedule is
                     changing. Therefore, I am left with no other choice but to
                     resign my employment. I didn't want to do this, but you
                     have forced my hand. You have done what it appears you
                     have set out to do since I returned from leave and filed a
                     complaint against Drexel for discrimination and retaliation
                     - which is force me to resign.

                     I still have personal belongings at the job and would like to
                     know how I can collect those belongings. Please let me
                     know.

                     Regards,
                     Chrystina Amelotti

       63.    Defendants’ actions of (1) terminating Plaintiff’s employment in October of 202

(and failing to notify her of the same until May of 2022); (2) taking away and refusing to

reinstate her the seniority, benefits, hours, and job duties that she had prior to commencing

medical leave in July of 2021; (3) subjecting her to a hostile work environment; (4) mandating

that she permanently move to night shift; and (5) constructively discharging Plaintiff are

discriminatory and retaliatory and clear violations of Title VII/PDA, the ADA, PFPO and the

FMLA.




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                                           Count I
                                 Violations of Title VII/PDA
        ([1] Pregnancy Discrimination; [2] Retaliation; [3] Hostile Work Environment)
                               -Against Defendant University-

        64.    The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

        65.    Based on the foregoing, Plaintiff believes and therefore avers that she was

subjected to a discriminatory hostile work environment base on her pregnancy/pregnancy

complications, by inter alia: (1) terminating her employment in October of 2021 (which she was

not notified of until May 5, 2022); (2) treating her in a rude and demeaning manner; (3) taking

away and refusing to reinstate her seniority, job duties, hours and other benefits that she had

prior to commencing medical leave in July of 2021; (4) treating her in a disparate manner as

compared to her other colleagues; (5) mandating that she work night shift; (6) ignoring her

concerns of discrimination/retaliation under Title VII/PDA; (7) painting her in a false and

negative light; and (8) constructively discharging her employment.

        66.    Plaintiff believes and therefore avers that she was also subjected to a retaliatory

hostile work environment following her complaints of discrimination/retaliation under Title VII,

by inter alia: (1) treating her in a rude and demeaning manner; (2) refusing to reinstate her

seniority, job duties, hours and other benefits that she had prior to commencing medical leave in

July of 2021; (3) treating her in a disparate manner as compared to her other colleagues; (4)

mandating that she work night shift; (5) ignoring her concerns of discrimination/retaliation under

Title VII/PDA; (6) painting her in a false and negative light; and (7) constructively discharging

her employment.

        67.    Plaintiff’s pregnancy and pregnancy-related complications were motivating

and/or determinative factors in Defendant University’s actions of (1) terminating Plaintiff’s



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     employment in October of 2021 (and failing to notify her of the same until May of 2022); (2)

     taking away and refusing to reinstate her the seniority, benefits, hours, and job duties that she

     had prior to commencing medical leave in July of 2021; (3) mandating that she permanently

     move to night shift; and (4) constructively discharging Plaintiff.

             68.    Defendant University’s actions of (1) terminating Plaintiff’s employment in

     October of 2021 (and failing to notify her of the same until May of 2022); (2) refusing to

     reinstate Plaintiff’s seniority, benefits, hours, and job duties that she had prior to commencing

     medical leave in July of 2021; (3) mandating that Plaintiff permanently move to night shift;

     and/or (4) constructively discharging Plaintiff, were taking in retaliation for engaging in

     protected activity under Title VII.

             69.    These actions as aforesaid constitute unlawful discrimination and retaliation under

     Title VII/PDA.

                                               Count II
                                       Violations of the PFPO
([1] Pregnancy Discrimination; [2] Retaliation; [3] Hostile Work Environment; [4] Failure to Accommodate)
                                       -Against All Defendants-

             70.    The foregoing paragraphs are incorporated herein in their entirety as if set forth in

     full.

             71.    Based on the foregoing, Plaintiff believes and therefore avers that she was

     subjected to a discriminatory hostile work environment based on her pregnancy, pregnancy

     complications, and/or pregnancy-related accommodations under the PFPO by inter alia: (1)

     terminating her employment in October of 2021 (which she was not notified of until May 5,

     2022); (2) treating her in a rude and demeaning manner; (3) taking away and refusing to reinstate

     her seniority, job duties, hours and other benefits that she had prior to commencing medical

     leave in July of 2021; (4) treating her in a disparate manner as compared to her other colleagues;



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(5) mandating that she work night shift; (6) ignoring her concerns of discrimination/retaliation

under the PFPO; (7) painting her in a false and negative light; and (8) constructively discharging

her employment.

       72.     Based on the foregoing, Plaintiff believes and therefore avers that she was subject

to a retaliatory hostile work environment because of her complaints of discrimination/retaliation

under the PFPO by inter alia: (1) treating her in a rude and demeaning manner; (2) refusing to

reinstate her seniority, job duties, hours and other benefits that she had prior to commencing

medical leave in July of 2021; (3) treating her in a disparate manner as compared to her other

colleagues; (4) mandating that she work night shift; (5) ignoring her concerns of

discrimination/retaliation under the PFPO; (6) painting her in a false and negative light; and (7)

constructively discharging her employment.

       73.     Plaintiff’s pregnancy/pregnancy-related complications were motivating and/or

determinative factors in Defendants’ actions of (1) terminating her employment in October of

2021 (for which she was not notified of until May 5, 2022); (2) taking away and refusing to

reinstate the seniority, benefits, hours, and job duties that she had prior to commencing medical

leave in July of 2021; (3) mandating that she permanently move to night shift; and (4)

constructively discharging Plaintiff.

       74.     Defendants’ actions of (1) terminating Plaintiff’s employment in October of 2021

(for which she was not notified of until May 5, 2021); (2) taking away and refusing to reinstate

the seniority, benefits, hours, and job duties that she had prior to commencing medical leave in

July of 2021; (3) mandating that Plaintiff permanently move to night shift; and/or (4)

constructively discharging Plaintiff, were taking in retaliation for engaging in protected activity

under the PFPO.




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        75.     Plaintiff also believes and therefore avers that Defendants failed to accommodate

her pregnancy and/or pregnancy-related complications by terminating her employment while on

medical leave and then refusing to reinstate her to the same position she had (with the same

seniority, benefits, hours, and job duties) prior to commencing medical leave in July of 2021.

        76.     These actions as aforesaid constitute unlawful discrimination and retaliation under

the PFPO.

        77.     Defendant Behr and Defendant Haney are personally liable because they aided,

abetted, and personally participated in the discriminatory and retaliatory actions asserted herein.

                                            Count III
                                      Violations of the ADA
              ([1] Actual/Perceived/Record of Disability Discrimination; [2] Retaliation;
                     [3] Failure to Accommodate; [4] Hostile Work Environment)
                               -Against Defendant University Only-

        78.     The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

        79.     Based on the foregoing, Plaintiff believes and therefore avers that she was

subjected to a discriminatory hostile work environment because of her actual/perceived/record of

disabilities and/or because of her requested accommodations, by inter alia: (1) terminating her

employment in October of 2021 (which she was not notified of until May 5, 2022); (2) treating

her in a rude and demeaning manner; (3) taking away and refusing to reinstate her seniority, job

duties, hours and other benefits that she had prior to commencing medical leave in July of 2021;

(4) treating her in a disparate manner as compared to her other colleagues; (5) mandating that she

work night shift; (6) ignoring her concerns of discrimination/retaliation under the ADA; (7)

painting her in a false and negative light; and (8) constructively discharging her employment.




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       80.     Plaintiff believes and therefore avers that she was also subjected to a retaliatory

hostile work environment following her complaints of discrimination/retaliation under the ADA,

by inter alia: (1) treating her in a rude and demeaning manner; (2) refusing to reinstate her

seniority, job duties, hours and other benefits that she had prior to commencing medical leave in

July of 2021; (3) treating her in a disparate manner as compared to her other colleagues; (4)

mandating that she work night shift; (5) ignoring her concerns of discrimination/retaliation under

the ADA; (6) painting her in a false and negative light; and (7) constructively discharging her

employment.

       81.     Plaintiff’s actual, perceived, and/or record of disabilities were motivating and/or

determinative factors in Defendant University’s actions of (1) terminating her employment in

October of 2021 (for which she was not notified of until May 5, 2022); (2) taking away and

refusing to reinstate the seniority, benefits, hours, and job duties that she had prior to

commencing medical leave in July of 2021; (3) mandating that she permanently move to night

shift; and (4) constructively discharging Plaintiff.

       82.     Defendant University’s actions of (1) terminating Plaintiff’s employment in

October of 2021 (for which she was not notified of until May 5, 2021); (2) taking away and

refusing to reinstate the seniority, benefits, hours, and job duties that she had prior to

commencing medical leave in July of 2021; (3) mandating that Plaintiff permanently move to

night shift; and/or (4) constructively discharging Plaintiff, were taking in retaliation for engaging

in protected activity under the ADA.

       83.     Plaintiff also believes and therefore avers that Defendants failed to accommodate

her disabilities by terminating her employment while on medical leave and then refusing to




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reinstate Plaintiff to the same position she had (with the same seniority, benefits, hours, and job

duties) prior to commencing medical leave in July of 2021.

        84.    These actions as aforesaid constitute unlawful discrimination and retaliation under

the ADA.

                                          Count IV
                                   Violations of the PFPO
              ([1] Actual/Perceived/Record of Discrimination; [2] Retaliation;
                [3] Hostile Work Environment; [4] Failure to Accommodate)
                                  -Against All Defendants-

        85.    The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

        86.    Based on the foregoing, Plaintiff believes and therefore avers that she was

subjected to a discriminatory hostile work environment based on her actual, perceived, record of

disabilities, requests for accommodations, and/or complaints of discrimination/retaliation under

the PFPO by inter alia: (1) terminating her employment in October of 2021 (which she was not

notified of until May 5, 2022); (2) treating her in a rude and demeaning manner; (3) taking away

and refusing to reinstate her seniority, job duties, hours and other benefits that she had prior to

commencing medical leave in July of 2021; (4) treating her in a disparate manner as compared to

her other colleagues; (5) mandating that she work night shift; (6) ignoring her concerns of

discrimination/retaliation under the PFPO; (7) painting her in a false and negative light; and (8)

constructively discharging her employment.

        87.    Based on the foregoing, Plaintiff believes and therefore avers that she was subject

to a retaliatory hostile work environment because of her complaints of discrimination/retaliation

under the PFPO by (1) treating her in a rude and demeaning manner; (2) refusing to reinstate her

seniority, job duties, hours and other benefits that she had prior to commencing medical leave in




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July of 2021; (3) treating her in a disparate manner as compared to her other colleagues; (4)

mandating that she work night shift; (5) ignoring her concerns of discrimination/retaliation under

the PFPO; (6) painting her in a false and negative light; and (7) constructively discharging her

employment.

       88.     Plaintiff’s actual, perceived, and/or record of disabilities were motivating and/or

determinative factors in Defendant University’s actions of (1) terminating her employment in

October of 2021 (for which she was not notified of until May 5, 2022); (2) taking away and

refusing to reinstate the seniority, benefits, hours, and job duties that she had prior to

commencing medical leave in July of 2021; (3) mandating that she permanently move to night

shift; and (4) constructively discharging Plaintiff.

       89.     Defendant University’s actions of (1) terminating Plaintiff’s employment in

October of 2021 (for which she was not notified of until May 5, 2021); (2) taking away and

refusing to reinstate the seniority, benefits, hours, and job duties that she had prior to

commencing medical leave in July of 2021; (3) mandating that Plaintiff permanently move to

night shift; and/or (4) constructively discharging Plaintiff, were taking in retaliation for engaging

in protected activity under the PFPO.

       90.     Plaintiff also believes and therefore avers that Defendants failed to accommodate

her disabilities by terminating her employment while on medical leave and then refusing to

reinstate Plaintiff to the same position she had (with the same seniority, benefits, hours, and job

duties) prior to commencing medical leave in July of 2021.

       91.     These actions as aforesaid constitute unlawful discrimination and retaliation under

the PFPO.




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        92.      Defendant Behr and Defendant Haney are personally liable because they aided,

abetted, and personally participated in the discriminatory and retaliatory actions asserted herein.

                                             Count V
                   Violations of the Family and Medical Leave Act ("FMLA")
                                          (Retaliation)
                                     -Against All Defendants-

        93.      The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

        94.      Plaintiff was an eligible employee under the definitional terms of the FMLA, 29

U.S.C. § 2611(a)(i)(ii).

        95.      Plaintiff requested leave from Defendant University, her employer, with whom

she had been employed for at least twelve months pursuant to the requirements of 29 U.S.C.A §

2611(2)(i).

        96.      Plaintiff had at least 1,250 hours of service with the Defendant University during

her last full year of employment (pre-FMLA leave request).

        97.      Defendant University is engaged in an industry affecting commerce and employs

fifty (50) or more employees for each working day during each of the twenty (20) or more

calendar work weeks in the current or proceeding calendar year, pursuant to 29 U.S.C.A §

2611(4)(A)(i).

        98.      Plaintiff was entitled to receive leave pursuant to 29 U.S.C.A § 2612 (a)(1) for a

total of twelve (12) work weeks of FMLA.

        99.      Defendant University took the following actions in retaliation for Plaintiff’s

request and/or utilization of FMLA leave: (1) terminating Plaintiff’s employment in October of

2021; (2) failing to notify Plaintiff of her October, 2021 termination (before May 5, 2022), (3)

taking away and refusing to reinstate Plaintiff’s seniority, benefits, hours, and job duties that she



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had prior to commencing medical leave in July of 2021; (4) subjecting her to a hostile work

environment; (5) mandating that Plaintiff permanently move to night shift; and/or (6)

constructively discharging Plaintiff.

       100.    These actions as aforesaid constitute retaliation violations of the FMLA.

       101.    Defendant Behr and Defendant Haney are personally liable because they aided,

abetted, and personally participated in the retaliatory actions asserted herein.

       WHEREFORE, Plaintiff prays that this Court enter an Order providing that:

       A.      Defendants are to compensate Plaintiff, reimburse Plaintiff and make Plaintiff

whole for any and all pay and benefits Plaintiff would have received had it not been for

Defendants’ illegal actions, including but not limited to past lost earnings, future lost earnings,

salary, pay increases, bonuses, medical and other benefits, training, promotions, pension, and

seniority. Plaintiff should be accorded those benefits illegally withheld from the date she first

suffered retaliation, interference or discrimination at the hands of Defendants until the date of

verdict;

       B.      Plaintiff is to be awarded liquidated/punitive damages, as permitted by applicable

law, in an amount determined by the Court or trier of fact to be appropriate to punish Defendants

for willful, deliberate, malicious and outrageous conduct and to deter Defendants or other

employers from engaging in such misconduct in the future;

       C.      Plaintiff is to be accorded any and all other equitable and legal relief as the Court

deems just, proper and appropriate, including but not limited to, emotional distress and/or pain

and suffering damages (where legally permitted);

       D.      Plaintiff is to be awarded the costs and expenses of this action and reasonable

legal fees as provided by applicable federal and state law;




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       E.      Any verdict in favor of Plaintiff is to be molded by the Court to maximize the

financial recovery available to the Plaintiff in light of the caps on certain damages set forth in

applicable federal law; and

       F.      Plaintiff’s claims are to receive trial by jury to the extent allowed by applicable

law. Plaintiff has also endorsed this demand on the caption of this Complaint in accordance with

Federal Rule of Civil Procedure 38(b).



                                                    Respectfully submitted,

                                                    KARPF, KARPF & CERUTTI, P.C.


                                             By:    _______________________
                                                    Ari R. Karpf, Esq.
                                                    3331 Street Road
                                                    Two Greenwood Square, Suite 128
                                                    Bensalem, PA 19020
                                                    (215) 639-0801
Dated: March 28, 2023




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PLOVLOMOP
                            Case 2:23-cv-01222-BMS
                                               UNITEDDocument   1 Filed
                                                      STATES DISTRICT    03/29/23 Page 27 of 28
                                                                      COURT
                                                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                                           DESIGNATION FORM
                     (to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

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Address of Plaintiff: ______________________________________________________________________________________________
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Address of Defendant: ____________________________________________________________________________________________
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Place of Accident, Incident or Transaction: ___________________________________________________________________________



RELATED CASE, IF ANY:

Case Number: ______________________________                      Judge: _________________________________                    Date Terminated: ______________________

Civil cases are deemed related when Yes is answered to any of the following questions:

1.     Is this case related to property included in an earlier numbered suit pending or within one year                         Yes                    No X
       previously terminated action in this court?

2.     Does this case involve the same issue of fact or grow out of the same transaction as a prior suit                        Yes                    No X
       pending or within one year previously terminated action in this court?

3.     Does this case involve the validity or infringement of a patent already in suit or any earlier                           Yes                    No X
       numbered case pending or within one year previously terminated action of this court?

4.     Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights                        Yes                    No X
       case filed by the same individual?

I certify that, to my knowledge, the within case              is / X is not related to any case now pending or within one year previously terminated action in
this court except as noted above.
          PLOVLOMOP
DATE: __________________________________                      __________________________________________                               ARK2484 / 91538
                                                                                                                               ___________________________________
                                                                          Attorney-at-Law / Pro Se Plaintiff                               Attorney I.D. # (if applicable)


CIVIL:

A.            Federal Question Cases:                                                       B.    Diversity Jurisdiction Cases:

       1.     Indemnity Contract, Marine Contract, and All Other Contracts                        1.    Insurance Contract and Other Contracts
       2.     FELA                                                                                2.    Airplane Personal Injury
       3.     Jones Act-Personal Injury                                                           3.    Assault, Defamation
       4.     Antitrust                                                                           4.    Marine Personal Injury
       5.     Patent                                                                              5.    Motor Vehicle Personal Injury
       6.     Labor-Management Relations                                                          6.    Other Personal Injury (Please specify): _____________________
u      7.     Civil Rights                                                                        7.    Products Liability
       8.     Habeas Corpus                                                                       8.    Products Liability –Asbestos
       9.     Securities Act(s) Cases                                                             9.    All other Diversity Cases
       10.    Social Security Review Cases                                                              (Please specify): ____________________________________________
       11.    All other Federal Question Cases
              (Please specify): ____________________________________________



                                                                           ARBITRATION CERTIFICATION
                                                   (

     Ari R. Karpf
I, ____________________________________________ , counsel of record or pro se plaintiff, do hereby certify:

              Pursuant to Local Civil Rule 53.2, § 3(c ) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
     X
              exceed the sum of $150,000.00 exclusive of interest and costs:

              Relief other than monetary damages is sought.


          PLOVLOMOP
DATE: __________________________________                      _____________________________________ _____                            ARK2484 / 91538
                                                                                                                              ___________________________________
                                                                          Attorney-at-Law / Pro Se Plaintiff                              Attorney I.D. # (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

Civ. 609 ( /2018)
                                   Case 2:23-cv-01222-BMS Document 1 Filed 03/29/23 Page 28 of 28
JS 44 (Rev. 06/17)                                                          CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                             DEFENDANTS
                                                                                                            aobubi=rkfsbopfqv=lL^=abm^oqjbkq=lc=mr_if`=
    ^jbilqqfI=`eovpqfk^                                                                                     p^cbqvI=bq=^iK
     (b) County of Residence of First Listed Plaintiff                 aÉä~ï~êÉ                              County of Residence of First Listed Defendant mÜáä~ÇÉäéÜá~
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                      (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                              NOTE:         IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                            THE TRACT OF LAND INVOLVED.

  (c) Attorneys (Firm Name, Address, and Telephone Number)                                                    Attorneys (If Known)
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II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                        III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintif                                   f
                                                                                                         (For Diversity Cases Only)                                            and One Box for Defendant)
❒ 1    U.S. Government               u’ 3     Federal Question                                                                     PTF           DEF                                           PTF      DEF
          Plaintiff                              (U.S. Government Not a Party)                      Citizen of This State          ’ 1           ’ 1    Incorporated or Principal Place         ’ 4     ’ 4
                                                                                                                                                            of Business In This State

❒ 2    U.S. Government                   ’ 4 Diversity                                              Citizen of Another State          ’ 2         ’ 2   Incorporated and Principal Place      ’ 5      ’ 5
          Defendant                             (Indicate Citizenship of Parties in Item III)                                                               of Business In Another State

                                                                                                    Citizen or Subject of a           ’ 3         ’ 3   Foreign Nation                        ’ 6      ’ 6
                                                                                                      Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                                  Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                               TORTS                               FORFEITURE/PENALTY                            BANKRUPTCY                     OTHER STATUTES
❒   110 Insurance                         PERSONAL INJURY                PERSONAL INJURY            ❒ 625 Drug Related Seizure              ’   422 Appeal 28 USC 158         ❒ 375 False Claims Act
❒   120 Marine                       ’    310 Airplane                 ❒ 365 Personal Injury -            of Property 21 USC 881            ’   423 Withdrawal                ’ 376 Qui Tam (31 USC
❒   130 Miller Act                   ’    315 Airplane Product               Product Liability      ❒ 690 Other                                     28 USC 157                       3729(a))
❒   140 Negotiable Instrument                  Liability               ❒ 367 Health Care/                                                                                    ❒ 400 State Reapportionment
❒   150 Recovery of Overpayment      ’    320 Assault, Libel &               Pharmaceutical                                                     PROPERTY RIGHTS              ❒ 410 Antitrust
        & Enforcement of Judgment              Slander                       Personal Injury                                                ❒ 820 Copyrights                 ❒ 430 Banks and Banking
❒   151 Medicare Act                 ’    330 Federal Employers’             Product Liability                                              ❒ 830 Patent                     ❒ 450 Commerce
❒   152 Recovery of Defaulted                  Liability               ❒ 368 Asbestos Personal                                              ❒ 835 Patent - Abbreviated       ❒ 460 Deportation
        Student Loans                ’    340 Marine                         Injury Product                                                        New Drug Application      ❒ 470 Racketeer Influenced and
        (Excludes Veterans)          ’    345 Marine Product                 Liability                                                      ❒ 840 Trademark                         Corrupt Organizations
❒   153 Recovery of Overpayment                Liability                PERSONAL PROPERTY                        LABOR                         SOCIAL SECURITY               ❒ 480 Consumer Credit
        of Veteran’s Benefits        ’    350 Motor Vehicle            ❒ 370 Other Fraud            ❒ 710 Fair Labor Standards              ’ 861 HIA (1395ff)               ❒ 490 Cable/Sat TV
❒   160 Stockholders’ Suits          ’    355 Motor Vehicle            ❒ 371 Truth in Lending               Act                             ❒ 862 Black Lung (923)           ❒ 850 Securities/Commodities/
❒   190 Other Contract                        Product Liability        ❒ 380 Other Personal         ❒ 720 Labor/Management                  ’ 863 DIWC/DIWW (405(g))                 Exchange
❒   195 Contract Product Liability   ’    360 Other Personal                 Property Damage                Relations                       ❒ 864 SSID Title XVI             ❒ 890 Other Statutory Actions
❒   196 Franchise                             Injury                   ❒ 385 Property Damage        ❒ 740 Railway Labor Act                 ’ 865 RSI (405(g))               ❒ 891 Agricultural Acts
                                     ’    362 Personal Injury -              Product Liability       ’ 751 Family and Medical                                                ❒ 893 Environmental Matters
                                              Medical Malpractice                                           Leave Act                                                        ❒ 895 Freedom of Information
        REAL PROPERTY                       CIVIL RIGHTS                PRISONER PETITIONS          ❒ 790 Other Labor Litigation              FEDERAL TAX SUITS                      Act
❒   210 Land Condemnation            ❒    440 Other Civil Rights         Habeas Corpus:             ❒ 791 Employee Retirement               ❒ 870 Taxes (U.S. Plaintiff      ❒ 896 Arbitration
❒   220 Foreclosure                  ❒    441 Voting                   ❒ 463 Alien Detainee                Income Security Act                     or Defendant)             ❒ 899 Administrative Procedure
❒   230 Rent Lease & Ejectment       ❒
                                     u    442 Employment               ❒ 510 Motions to Vacate                                              ❒ 871 IRS—Third Party                   Act/Review or Appeal of
❒   240 Torts to Land                ❒    443 Housing/                       Sentence                                                              26 USC 7609                      Agency Decision
❒   245 Tort Product Liability                Accommodations           ❒ 530 General                                                                                         ❒ 950 Constitutionality of
❒   290 All Other Real Property      ❒    445 Amer. w/Disabilities -   ❒ 535 Death Penalty                IMMIGRATION                                                               State Statutes
                                              Employment                 Other:                     ❒ 462 Naturalization Application
                                     ❒    446 Amer. w/Disabilities -   ❒ 540 Mandamus & Other       ❒ 465 Other Immigration
                                              Other                    ❒ 550 Civil Rights                 Actions
                                     ❒    448 Education                ❒ 555 Prison Condition
                                                                       ❒ 560 Civil Detainee -
                                                                             Conditions of
                                                                             Confinement

V. ORIGIN (Place an “X” in One Box Only)
u
’ 1 Original    ❒ 2 Removed from                            ❒    3     Remanded from            ❒ 4 Reinstated or       ’     5 Transferred from    ❒ 6 Multidistrict                  ❒ 8 Multidistrict
        Proceeding                State Court                          Appellate Court              Reopened                    Another District           Litigation -                    Litigation -
                                                                                                                            (specify)                      Transfer                        Direct File
                                            Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                      qfqib=sff=EQOrp`OMMMFX=^a^=EQOrp`NONMNFX=cji^=EOVrp`OSMNF
VI. CAUSE OF ACTION Brief description of cause:
                       sáçä~íáçåë=çÑ=íÜÉ=qfqib=sffI=^a^I=cji^I=mcml=~åÇ=íÜÉ=meo^K
VII. REQUESTED IN     ❒ CHECK IF THIS IS A CLASS ACTION     DEMAND $                  CHECK YES only if demanded in complaint:
     COMPLAINT:           UNDER RULE 23, F.R.Cv.P.                                    JURY DEMAND:        u’ Yes      ’ No
VIII. RELATED CASE(S)
                        (See instructions):
      IF ANY                                JUDGE                                 DOCKET NUMBER
DATE                                                                      SIGNATURE OF ATTORNEY OF RECORD
           PLOVLOMOP
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                      APPLYING IFP                                    JUDGE                              MAG. JUDGE

                  Print                                 Save As...                                                                                                                  Reset
